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09-C'V-00446-NTC

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

IN THE MATTER OF THE COMPLAINT OF Case No. C CQ 9 - 0 4 4, 6

KATMAI FISHERIES, INC. AS OWNER

AND/OR OPERATOR OF THE VESSEL

KATMAI, OFFICIAL NUMBER 918779, FOR NOTICE OF POSTING OF
EXONERATION FROM AND/OR SECURITY FOR COSTS
LIMITATION OF LIABILITY

 

 

 

Katmai Fisheries, Inc. ("Limitation Plaintiff’), by and through their attorneys,
Holmes, Weddle & Barcott, pursuant to the Limitation of Liability Act, 46 U.S.C. §
30501 ef seg., filed a complaint for exoneration from and/or limitation of liability on
account of all losses and damages resulting from the casualties described therein, and in
which Limitation Plaintiff prays that an injunction be issued restraining the
commencement or prosecution of any action or actions against Limitation Plaintiff or the
said vessel arising out of matters which form the subject of the complaint; and

WHEREAS, Rule F(1) of the Supplemental Rules for Certain Admiralty and
Maritime Claims requires Limitation Plaintiff to post security for costs and, if the
Limitation Plaintiff elects to give security, interest at the rate of six percent (6%) per
annum, from the date of the security; and

WHEREAS, Local Admiralty Rule 120(b) provides the amount of security for

NOTICE OF POSTING OF SECURITY FOR COSTS - 1 HOLMES WEDDLE & BARCOTT
Case No. 5 | N A | 999 THIRD AVENUE, SUITE 2400
SEATTLE, WASHINGTON 98104-4011
TELEPHONE {204} 292-8008

 

 

 

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costs shall be $500.00;

NOW, THEREFORE, Limitation Plaintiff, by and through its counsel, Holmes,
Weddle & Barcott, hereby give notice of the payment of $500.00 into the Court as
security for costs and that Limitation Plaintiff shall post additional security in the amount
of six percent (6%) per annum each year to be paid into the Court on or before the one
year anniversary of the date of this notice and on or before each one year anniversary
thereafter until judgment is entered.

DATED this aE tay of April, 2009.
HOLMES WEDDLE & BARCOTT, P.C.

  

 

sel A. Barcott, WSBA #11317
Michael H. Williamson, WSBA #4185
Theresa K. Fus, WSBA #37984

999 Third Avenue, Suite 2600

Seattle, Washington 98104
Telephone: (206) 292-8008
Facsimile: (206) 340-0289

Email: mbarcott@hwb-law.com

Attomey for Limitation Plaintiff

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